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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

LUXOTTICA GROUP S.p.A., OAKLEY,
INC., and COSTA DEL MAR, INC.,                               Case No. 21-cv-03977

                             Plaintiffs,                     Hon. Steven C. Seeger

           v.                                                Magistrate Judge Beth W. Jantz

THE PARTNERSHIPS and
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A”,
                             Defendants.


                PLAINTIFFS’ STATEMENT REGARDING MINUTE ENTRY [22]

           Pursuant to this Court’s Minute Entry [22], Plaintiffs Luxottica Group S.p.A., Oakley,

Inc., and Costa Del Mar, Inc. (collectively, “Plaintiffs”) file this Statement.

           Since January 1, 2020, Plaintiffs have filed 17 cases asserting claims of trademark

infringement, that included a Schedule A, in the Northern District of Illinois.1 See Declaration of

Justin R. Gaudio (“Gaudio Declaration”) at ¶ 2. In this case, each Domain Name is exclusively

selling products bearing counterfeit versions of Plaintiff’s Ray-Ban and/or Oakley Trademarks.

           Lawsuits like this case are highly effective at decreasing online counterfeiting. For

example, in 2016, Plaintiffs identified and shut down over 30,600 similar websites offering for

sale products bearing counterfeit versions of Plaintiffs’ trademarks. Gaudio Declaration at ¶ 3.

As a result of Plaintiffs’ diligent efforts in filing lawsuits in recent years, that figure has

decreased significantly to less than 2,000 domains in 2021 year to date. Id. This consistent year-

over-year decrease is illustrated below in Figure 1. Id.



1
    Plaintiff Oakley, Inc. has also filed 34 cases asserting design patent rights. Gaudio Declaration at ¶ 2.

                                                         1
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                                               Figure 1



       Prompt entry of the domain name transfer order without notice delays defendants in

creating and promoting new websites. Even if there are no linked financial accounts to restrain,

which is the case with nearly all of the Domain Names in this case, Defendants incur costs

registering new domain names, setting up new websites and driving traffic to those new websites

through either search engine optimization and/or social media promotion. In sum, Plaintiffs’

efforts in filing these cases frustrate Defendants’ ability to sell counterfeit products, which in

turn has resulted in a significant decrease in online counterfeiting.




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Dated this 13th day of August 2021.   Respectfully submitted,

                                      /s/ Justin R. Gaudio
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